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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

                                                 )
SHAWN BRISCOE,                                   )
                                                 )
                       Plaintiff,                )
       v.                                        )
                                                 )           Docket No. 19-cv-00029-SDD-EWD
JAMES LeBLANC, et al.,                           )
                                                 )
                       Defendants.               )
                                                 )

  ORDER GRANTING CONSENT MOTION TO DISMISS TIMOTHY HOOPER AND
                        JAMES LEBLANC

       Having duly considered Plaintiff’s Consent Motion to Dismiss Timothy Hooper and

James LeBlanc and the arguments regarding it, IT IS HEREBY ORDERED that the Motion is

GRANTED. Defendants LeBlanc and Hooper in their official capacity are dismissed with

prejudice, each side to bear their own costs and fees.

      Furthermore, Defendants’ motion to dismiss (R. Doc. 19) is hereby denied as moot.

      IT IS SO ORDERED.

      Baton Rouge, Louisiana, this 26th day of June, 2019.


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                                             ________________________________
                                             SHELLY D. DICK
                                             CHIEF DISTRICT JUDGE
                                             MIDDLE DISTRICT OF LOUISIANA
